    2:18-mn-02873-RMG Date Filed 12/18/18 Entry Number 2 Page 1 of 2
         Case MDL No. 2873 Document 248 Filed 12/18/18 Page 1 of 2




                              UNITED STATES JUDICIAL PANEL
                                           on
                               MULTIDISTRICT LITIGATION



IN RE: AQUEOUS FILM−FORMING FOAMS
PRODUCTS LIABILITY LITIGATION                                                          MDL No. 2873



                                  (SEE ATTACHED SCHEDULE)



                        CONDITIONAL TRANSFER ORDER (CTO −1)



On December 7, 2018, the Panel transferred 75 civil action(s) to the United States District Court for
the District of South Carolina for coordinated or consolidated pretrial proceedings pursuant to 28
U.S.C. § 1407. See _F.Supp.3d_ (J.P.M.L. 2018). Since that time, no additional action(s) have been
transferred to the District of South Carolina. With the consent of that court, all such actions have
been assigned to the Honorable Richard M. Gergel.

It appears that the action(s) on this conditional transfer order involve questions of fact that are
common to the actions previously transferred to the District of South Carolina and assigned to Judge
Gergel.

Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict
Litigation, the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the
District of South Carolina for the reasons stated in the order of December 7, 2018, and, with the
consent of that court, assigned to the Honorable Richard M. Gergel.

This order does not become effective until it is filed in the Office of the Clerk of the United States
District Court for the District of South Carolina. The transmittal of this order to said Clerk shall be
stayed 7 days from the entry thereof. If any party files a notice of opposition with the Clerk of the
Panel within this 7−day period, the stay will be continued until further order of the Panel.



                                                      FOR THE PANEL:



       Dec 18, 2018                                   Jeffery N. Lüthi
                                                      Clerk of the Panel
  2:18-mn-02873-RMG Date Filed 12/18/18 Entry Number 2 Page 2 of 2
       Case MDL No. 2873 Document 248 Filed 12/18/18 Page 2 of 2




IN RE: AQUEOUS FILM−FORMING FOAMS
PRODUCTS LIABILITY LITIGATION                                           MDL No. 2873



                  SCHEDULE CTO−1 − TAG−ALONG ACTIONS



 DIST      DIV.     C.A.NO.     CASE CAPTION


DELAWARE

  DE         1     18−01711     Grubb et al v. The 3M Company et al

FLORIDA SOUTHERN

  FLS        2     18−14430     City of Stuart, Florida v. The 3M Company et al

NEW JERSEY

                                NEW JERSEY−AMERICAN WATER COMPANY,
  NJ         1     18−15960     INC. v. THE 3M COMPANY et al

NEW YORK NORTHERN

 NYN         1     18−01317     State of New York v. 3M Company et al    Opposed 12/17/2018

NEW YORK SOUTHERN

                                Andrews et al. v. The Port Authority of New York and
  NYS        7     18−09178     New Jersey et al.
                                Bermo et al v. The Port Authority of New York and
  NYS        7     18−09283     New Jersey et al
                                Allen et al v. The Port Authority of New York and New
  NYS        7     18−09296     Jersey et al
  NYS        7     18−10622     County of Dutchess v. 3M Company et al

OHIO SOUTHERN

  OHS        3     18−00331     City of Dayton v. 3M Company et al

PENNSYLVANIA EASTERN

  PAE        2     18−04355     KERVIN v. 3M COMPANY et al
